        CaseCase:
             2:15-cr-00014-APG-VCF
                  17-10262, 09/06/2017,
                                     Document
                                        ID: 10570249,
                                                357 Filed
                                                      DktEntry:
                                                          09/06/17
                                                                8, Page
                                                                      Page
                                                                        1 of11of 1

                     UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                       SEP 06 2017
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                     No. 17-10262

                 Plaintiff - Appellee,
                                               D.C. No. 2:15-cr-00014-APG-VCF-1
   v.                                          U.S. District Court for Nevada, Las
                                               Vegas
 OMAR QAZI,
                                               MANDATE
                 Defendant - Appellant.


         The judgment of this Court, entered August 15, 2017, takes effect this date.

         This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Jessica F. Flores Poblano
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
